
759 So.2d 766 (2000)
Christopher COLE, et al.
v.
STATE of Louisiana, Through the DEPARTMENT OF TRANSPORTATION &amp; DEVELOPMENT.
Richard Shane Rodriguez
v.
State of Louisiana, through the Department of Transportation &amp; Development.
Joseph D. Baggett &amp; Cecilia M. Baggett Sonnier
v.
State of Louisiana, through the Department of Transportation &amp; Development.
No. 2000-C-0199.
Supreme Court of Louisiana.
April 7, 2000.
Denied.
VICTORY, J., not on panel.
MARCUS and TRAYLOR, JJ., would grant the writ.
